
47 So.3d 966 (2010)
Kevin F. MacLEOD, Petitioner,
v.
STATE of Florida, Respondent.
No. 5D10-1992.
District Court of Appeal of Florida, Fifth District.
November 19, 2010.
Kevin F. MacLeod, Daytona Beach, pro se.
Bill McCollum, Attorney General, Tallahassee, and Wesley Heidt, Assistant Attorney General, Daytona Beach, for Respondent.
PER CURIAM.
The petition for belated appeal is granted. A copy of this opinion shall be filed with the trial court and be treated as the notice of appeal from the judgment and sentence rendered in case nos. 2007-CF-1905, 2008-CF-1813, 2009-CF-1188 and 2009-CF-1273, in the Circuit Court in and for Hernando County, Florida. See Fla. R.App. P. 9.141(c)(5)(D).
PETITION GRANTED.
GRIFFIN, LAWSON and EVANDER, JJ., concur.
